     Case 1:17-cr-00173-DAD-BAM Document 66 Filed 10/17/17 Page 1 of 2


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 4

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 6   Attorney for Defendant, DARCI EILEEN WIGDERSON

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 9                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                       ******
11
     UNITED STATES OF AMERICA,                               Case No.: 1:17-CR-00173 BAM
12
                         Plaintiff,
13                                                           WAIVER OF DEFENDANT’S
               v.                                            PERSONAL PRESENCE; ORDER
14                                                           THEREON
15   DARCI EILEEN WIGDERSON

16                       Defendant.

17

18             Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant Darci Eileen Wigderson, having been

19   advised of her right to be present at all stages of the proceedings, hereby requests that this

20   Court proceed in her absence on every occasion that the Court may permit, pursuant to this

21   waiver.

22             Defendant agrees that her interests shall be represented at all times by the presence of

23   her attorneys of record the same as if Defendant were personally present, and requests that this

24   court allow her attorneys-in-fact to represent her interests at all times. Defendant further agrees

25   that notice to Defendant’s attorney that Defendant’s presence is required will be deemed notice

26   to the Defendant of the requirement of her appearance at same time and place.

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     Case 1:17-cr-00173-DAD-BAM Document 66 Filed 10/17/17 Page 2 of 2


 1            This request is made because Ms. Wigderson is currently participating in an inpatient

 2   addiction recovery program at WestCare California, 2772 South M.L.K. Jr. Boulevard, Fresno,

 3   California , and is not be permitted to leave the recovery center.

 4            Respectfully submitted,

 5   Dated:       October 16, 2017         By:                /s/ Darci Eileen Wigderson
 6                                                          DARCI EILEEN WIGDERSON
                                                                       Defendant
 7                                                            (Original Signature in File)

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 9
10   Dated:       October 16, 2017         By:               /s/ Roger D. Wilson
11                                                               ROGER D. WILSON
                                                                 Attorney for Defendant
12                                                          DARCI EILEEN WIGDERSON
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16                                               ORDER
              GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
17
     appearance may be waived at any and all non-substantive pretrial proceedings until further
18
     order.
19

20
     IT IS SO ORDERED.
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22      Dated:      October 17, 2017                            /s/ Barbara A. McAuliffe              _
                                                          UNITED STATES MAGISTRATE JUDGE
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